22-22493-shl       Doc 13   Filed 08/18/22 Entered 08/18/22 13:44:13          Main Document
                                          Pg 1 of 3



                                                   Hearing Date and Time:
                                                   September 20, 2022 at 10:00 a.m.
Israel Dahan
KING & SPALDING LLP
1185 Avenue of the Americas
New York, New York 10036
Phone: (212) 556-2100
Fax: (212) 556-2200
idahan@kslaw.com
Counsel for Yeshiva Chofetz Chaim, Inc.
and 82 Highview LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                        Chapter 11
SHEM OLAM LLC,
                                                        Case No. 22-22493 (SHL)
         Debtor.


                    NOTICE OF STATUS CONFERENCE (VIA ZOOM)

         PLEASE TAKE NOTICE that a status conference will be held before the Honorable

Judge Sean H. Lane, United States Bankruptcy Judge for the Southern District of New York, in

Room 701 of the United States Bankruptcy Court for the Southern District of New York, One

Bowling Green, New York, New York 10004 on September 20, 2022 at 10:00 a.m. (Prevailing

Eastern Time).

         PLEASE TAKE FURTHER NOTICE that the status conference will be conducted via

Zoom for Government. Parties wishing to participate in the status conference should register

their appearances at the following link:      http://www.nysb.uscourts.gov/ecourt-appearances.

Registered parties will receive a link to join the status conference one day prior. Appearances

must be entered no later than September 19, 2022 at 4:00 p.m. (Prevailing Eastern Time).




                                               1
22-22493-shl      Doc 13     Filed 08/18/22 Entered 08/18/22 13:44:13            Main Document
                                           Pg 2 of 3



         PLEASE TAKE FURTHER NOTICE that the status conference may be adjourned from

time to time without further notice other than the announcement of such adjournments in open

Court.

         PLEASE TAKE FURTHER NOTICE that all case related filings can be viewed and/or

obtained by (i) accessing the Bankruptcy Court’s Website for a fee, or (ii) by contacting the Office

of the Clerk of the United States Bankruptcy Court, Southern District of New York. Please note

that a PACER password is required to access documents on the Bankruptcy Court’s Website.

Dated: August 18, 2022
       New York, New York                     KING & SPALDING LLP


                                              /s/ Israel Dahan
                                              Israel Dahan
                                              KING & SPALDING LLP
                                              1185 Avenue of the Americas
                                              New York, New York 10036
                                              Phone: (212) 556-2100
                                              Fax: (212) 556-2200
                                              idahan@kslaw.com

                                              Thaddeus D. Wilson (pro hac vice forthcoming)
                                              KING & SPALDING LLP
                                              1180 Peachtree Street, N.E., Suite 1600
                                              Atlanta, Georgia 30309
                                              Phone: (404) 572-4600
                                              Fax: (404) 572-5100
                                              thadwilson@kslaw.com

                                              Counsel for Yeshiva Chofetz Chaim, Inc.
                                              and 82 Highview LLC




                                                 2
22-22493-shl     Doc 13     Filed 08/18/22 Entered 08/18/22 13:44:13          Main Document
                                          Pg 3 of 3



                                CERTIFICATE OF SERVICE

       I certify that on August 18, 2022, I caused a true and correct copy of the foregoing to be

served via first-class mail on the parties listed below, in addition to those parties receiving

electronic notification through the ECF filing system:

               A. Mitchell Greene
               LEECH TISHMAN ROBINSON BROG, PLLC
               874 Third Avenue
               New York, New York 10022
               amgreene@leechtishman.com
               Counsel to Debtor

               Paul K. Schwartzberg
               OFFICE OF THE UNITED STATES TRUSTEE
               201 Varick Street, Suite 1006
               New York, New York 10014
               paul.schwartzberg@usdoj.gov
               United States Trustee for the
               Southern District of New York


                                             /s/ Israel Dahan
                                             Israel Dahan




                                                3
